                 UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF NORTH CAROLINA
                   Case No. 1:20-cv-00954-WO-JLW


 FARHAD AZIMA,

                          Plaintiff,
                                              NON-PARTY DECHERT LLP’S
                    v.                          REPLY IN SUPPORT OF
                                                 MOTION TO EXTEND
 NICHOLAS DEL ROSSO and VITAL
                                                    DEADLINES
 MANAGEMENT SERVICES, INC.,

                         Defendants.



      Immediately following the issuance of the Court’s Order (the “Order”) on

July 25, 2023, Dechert undertook an extensive effort to comply with the Order’s

directives. See Non-Party Dechert’s Status Report on Discovery Efforts and

Motion to Extend Deadlines (the “Motion”), DE 251, at 1–6. Dechert has

already produced nearly 10,000 pages of discovery to Plaintiff, and continues

to review documents for imminent rolling productions. Given the scope of

Plaintiff’s subpoena, the number of devices and repositories requiring

collection, and the complexity of the privilege review given Dechert’s role as a

law firm to its foreign client, Dechert requested in the Motion a modest

extension of time from the Court to complete its production, while making clear

that it would continue to work diligently pending resolution of the Motion. Id.




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      The Opposition is almost entirely unresponsive to the question before

the Court, i.e., the complexity of the production process requiring additional

time. To the contrary, Plaintiff’s position appears to be that the remaining

production process is even more complex. See DE 271 (“Opposition”) at 4

(demanding additional custodians).          Rather than address the need for

additional time, the Opposition sounds more like an unrelated, preemptive

motion to compel, complaining about the content of the trailing production and

privilege log still to come. Id. at 5. If Plaintiff ultimately takes issue with the

content of the production or with privilege designations, he can raise those

disputes in accordance with the Court’s rules and applicable process. But on

the issue actually before the Court—that the production of a remaining subset

of documents requested from Dechert requires more time—there appears to be

no real dispute. The Motion should be granted.

      In this Reply, we provide the Court with an update on the status of the

discovery, and briefly clarify the record, as Plaintiff makes a number of false

statements about the parties’ discussions to date. Two misstatements demand

immediate correction. First, Plaintiff asserts Dechert “has doubled down by

taking the position that it will not produce any more documents unless and

until the Court rules on its Motion for Clarification.” Opposition at 11. This

is false, and Plaintiff knows it is false. While Dechert has filed a Motion for

Clarification or Reconsideration with respect to two discrete areas of Plaintiff’s

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subpoena—namely, information regarding RAK’s unrelated engagements with

Dechert and documents from the six-week period between September 1, 2020

and October 15, 2020—Dechert is continuing rolling productions with respect

to the remaining disclosable documents responsive to Plaintiff’s subpoena.

Indeed, during a meet-and-confer on August 8, 2023, Plaintiff asked whether

Dechert was awaiting the Court’s order on its Motion for Clarification before

producing additional documents, and was explicitly told that Dechert was not

awaiting that resolution. Nevertheless, in Plaintiff’s apparent zeal to paint

Dechert in a negative light, Plaintiff tells this Court the opposite—a knowing

falsehood. The Court should grant the necessary (and effectively undisputed)

Motion for a modest extension of time to complete the remaining production.

      Second, Plaintiff asserts that Dechert “essentially admitted that the

crime fraud exception applies to documents it previously considered privilege

and has produced those documents in that case.” Opposition at 5. That too is

false. The reality is that Dechert produced certain documents to Plaintiff in

the U.K. Litigation—which involve essentially the identical claims brought

here—subject to a U.K. doctrine referred to as the iniquity exception. The

iniquity exception has a different standard than the U.S. crime-fraud exception

and was applied, in any event, to communications and documents that further

two potentially iniquitous purposes through the activities of certain

individuals not including Mr. Del Rosso, the Defendant here.          Dechert

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reproduced those same documents in this proceeding (because they fell within

the scope of Plaintiff’s subpoena) on the basis that documents already produced

in the U.K. for any reason, including the iniquity exception, could not

subsequently be withheld on the basis of a privilege assertion—essentially, a

waiver determination predicated on their prior production. No determination

or admission has been made that either the iniquity, crime-fraud, or any other

exception applies or has any bearing on the productions or parties here. Again,

the Court should disregard Plaintiff’s tactical misrepresentations. Dechert is

making all reasonable efforts to comply with the Court’s Order. It should be

permitted a reasonable amount of time to do so.

                                   ARGUMENT

   I.       Additional Time is Warranted to Complete Productions

         Plaintiff does not appear to dispute that additional time is necessary to

complete productions here. Indeed, Plaintiff asserts that the production is of

even greater complexity, and demands an even greater number of documents

and custodians. It is not clear what Plaintiff expects Dechert to do beyond

what it is already doing: the diligent and expeditious collection and review of

documents.       In the normal course, parties to a production in these

circumstances agree to the type of modest extension Dechert has requested,

particularly as Dechert’s efforts further benefit Plaintiff. Plaintiff’s tactics

have led him to a different posture here.

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      As background, Plaintiff served Dechert, a non-party, with an

extraordinarily broad document subpoena and notice of 30(b)(6) deposition in

December 2022. See Decl. of David Gopstein, DE 263, ¶¶ 2-3. Soon thereafter,

the parties to this case began disputing the scope of discovery, including with

respect to the impact of the Court’s earlier Order dismissing most of Plaintiff’s

claims and narrowing the scope of this case. See, e.g., DE 123 (Def.’s Mot. to

Quash Subpoena); DE 126 (Pltf.’s Mot. to Compel Production). In light of the

overbreadth of the subpoena, Dechert filed a Motion to Quash (DE 137), and

opposed Plaintiff’s Motion to Compel, noting that Plaintiff “should resolve its

dispute with Defendants about the appropriate scope of discovery” before

undertaking the enormously burdensome task of responding to every aspect of

the overly broad subpoena. DE176.

      Meanwhile, despite Plaintiff’s mischaracterization that Dechert “fail[ed]

to take any steps to comply with the subpoena,” Opp. at 3, Dechert was

undergoing an enormously complex review and production process in the

nearly-identical U.K. Litigation, in which Plaintiff brings very similar claims

that his emails were unlawfully hacked and disclosed. See Mot. a 3–8. That

process involved the collection of over one million documents from dozens of

databases, mailboxes, devices, and sources belong to Dechert and sixteen

individual custodians.     Id. at 4.     Dechert’s counsel reviewed 146,000

documents, over 58,000 billing entries, and more than 200 boxes of hard copy

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documents, resulting in the ultimate production of nearly 10,000 pages of

responsive documents. Id. at 5–6. Given the overlap, it was reasonable for

Dechert to expect, as has come to pass, that if the Court ultimately required

Dechert to produce documents here, the work on the document productions in

the U.K. Litigation would put Dechert in a position to largely satisfy Plaintiff’s

subpoena requests here. Indeed, despite his protestations to the contrary now,

Plaintiff specifically demanded of Dechert, following the Court’s Order, that it

make the U.K. production available to Plaintiff in this proceeding.          And

Dechert has done just that, subject to an appropriate re-review and effort to

conform the production to the date range specified by the Court in its Order

here.

        Despite demanding that Dechert prioritize the re-production of the

materials produced in the U.K. Litigation, Plaintiff now insists that this case

involves “different issues, different parties, different custodians, different

search terms, and different rules of procedure and privilege.” Opp. at 4. But

Plaintiff fails to identify a single different issue, let alone search term. By

contrast, in the Motion, Dechert specifically identified the overlapping issues

(and provided a table demonstrating as much).          Mot. at 3-4.    Plaintiff’s

scattershot, largely non-responsive opposition fails to dispute any aspect of

that overlap. Plaintiff’s complaints are vague, premature, and miss the point.




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         All that said, Dechert agrees, as it stated in the Motion, that the

document subpoena, as construed by the Court, calls for some additional

documents than those produced in the U.K. litigation. It is for this precise

reason that Dechert currently is undertaking an enormous effort to review and

either produce or withhold those documents. As Dechert explained in its

Motion, that is exactly what requires the additional time Dechert seeks. See

Mot. at 4-9. Plaintiff’s insistence that much more be done but no additional

time be taken to do it is nothing more than bluster.

   II.      Status of Discovery

         By way of update, and in spite of Plaintiff’s mischaracterizations to the

contrary, Dechert has diligently continued the collection, review, and

production process since the Court’s Order was issued. As noted, the Subpoena

calls for certain documents not produced in the U.K. Litigation. One difference

is that it requests “[a]ll Documents, Communications, Agreements, Reports,

Calendar Entries, and Visitor Logs relating to Northern Technology, Inc.” Mot.

at 9.     Consequently, Dechert has identified and segregated a universe of

potentially responsive documents, totaling 35,000 documents with families,

and undertaken the review process for responsiveness and privilege. A modest

amount of additional time is necessary to complete that review, production,

and logging for privilege.




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      An additional difference is that the subpoena calls for visitor logs to

Dechert’s many global offices. Mot. at 10. There are several challenges to

collecting visitor logs, which exist in various formats across Dechert’s offices in

various countries.    Dechert has initiated that process, globally, collected

relevant (and voluminous) logs from several of those offices, and begun the

review of the same.

      Beyond those two scope differences, the privilege review in this case is

extremely complex, particularly in light of the fact that Dechert is itself a law

firm that formerly advised a client, overseas, whose documents are the subject

of Plaintiff’s subpoena. Though the document production in the U.K. included

the withholding of privileged documents, U.K. procedure does not customarily

require the production of a privilege log. Thus, Dechert has undertaken the

intricate task of re-reviewing all previously withheld documents for the

creation of a privilege log, on top of the new reviews for privilege necessitated

by the additional categories of documents described above (namely, the NTI

documents and the visitor logs).

      Finally, as noted above, Dechert has moved for clarification or

reconsideration on the relevant time frame at issue here.          DE 262 at 2.

Specifically, Plaintiff’s last injury alleged in the Complaint dates August 28,

2020. Compl. ¶ 127. In the U.K. Litigation, the relevant period of discovery

agreed to by the parties ended at August 31, 2020. DE 262 at 5. Here, the

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Order set the relevant time frame as ending October 15, 2020, six weeks later.

Despite the brevity of that difference, re-collecting, reviewing, and processing

documents from over a dozen custodians and repositories is an enormous task,

and unlikely to yield any responsive documents, given the lack of relevance of

that period.   However, and again despite Plaintiff’s misstatements to the

contrary, Dechert has already initiated steps in order to undergo that process

in the event the Court ultimately denies Dechert’s motion.

      In short, document collection, review, and production are underway, all

reasonable efforts are being made, and a modest extension of time to complete

that production and privilege log is a standard, reasonable and warranted

request. The Opposition provides no basis to find otherwise.

   III.   Plaintiff’s Misstatements with regard to Dechert’s Production

      Plaintiff’s Opposition is riddled with false statements about the

documents Dechert produced, those it continues to review and produce, and

Dechert’s positions with regard to various questions implicated by this

production.    As noted above, Plaintiff’s assertions largely sound in a

hypothetical motion to compel that is not before the Court, and therefore need

not be addressed here; Dechert will address those (erroneous) contentions if




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and when they are properly before the Court.1 Dechert briefly responds to a

few of those misstatements in an effort to correct the record, while reserving

all rights with respect to the remainder.

         A. Crime Fraud Exception

      Plaintiff claims that Dechert “essentially admitted that the crime fraud

exception applies to documents it previously considered privilege and has

produced those documents in that case.” Opposition at 5. That is false. As

Plaintiff is aware given his participation in the U.K. Litigation, Dechert

previously produced (to him) documents, including those deemed not privileged

pursuant to the iniquity exception—a U.K. doctrine that provides that

“communications in furtherance of an iniquitous purpose… negate[] the

necessary confidentiality and therefore the privilege,” DE 250-1 ¶ 131—a

wholly different standard than the crime fraud exception in the U.S. Dechert

has produced those same documents in this litigation not pursuant to the

crime-fraud exception, but because their prior production to Plaintiff rendered

claims to privilege no longer available in this proceeding. Dechert has never

“admitted” that the crime-fraud exception applies.


1 This includes Plaintiff’s assertions that “Dechert has failed to collect from

custodians relevant to Azima’s subpoena,” DE at 9-10; that Dechert “has
violated the Protective Order by attempting to cloak its entire production in
improper confidentiality protections,” DE at 8-9; and that Dechert has “failed
to collect documents from third parties operating at Dechert’s instructions
whose documents are in its custody and control,” DE at 10-11.

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      Even if the crime fraud exception did align with the application of the

iniquity exception—and it does not—Plaintiff misstates the scope of the

application of that exception as relates to the parties in this case. For one

thing, while Dechert has produced documents relating to certain activities of

another private investigator (Stuart Page and his associates) and the narrative

presented to the U.K. Court about RAKIA’s “discovery” of Azima’s hacked data

pursuant to the iniquity exception, it has not done the same for Defendants

Del Rosso and Vital Management Services. Accordingly, Plaintiff’s statement

that Dechert has given an “essential admission that the crime fraud exception

applies to conduct involving Del Rosso,” Opposition at 2, is incorrect. Moreover,

only communications “in furtherance of an iniquitous purpose” are subject to

the iniquity exception; “it is not sufficient for the document merely to be

relevant to, or to evidence the existence of, the iniquitous purpose.” DE 250-1

¶ 132. Plaintiff thus is mistaken that production of certain documents in the

U.K. Litigation subject to the iniquity exception now requires production here

of “any internal Dechert communications, or communications with its client

and/or agents, that relate to the hacking of Azima or misleading the court or

Azima about how it obtained Azima’s hacked data.” Opposition at 6. Specific

documents relating to certain activities of specific individuals were produced

under the iniquity exception in the U.K. Litigation, and all of those materials

have been re-produced here. There is nothing more to the issue.

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          B. Privilege Waiver

      Plaintiff asserts that “Dechert has no right to invoke [its former client]

RAK’s privilege” and so “should be ordered immediately to produce all

responsive documents, including those over which RAK is the alleged privilege

holder.” Opposition at 8. Plaintiff is wrong.

      To start, again, this issue is not before the Court; indeed, Plaintiff does

not even have a privilege log. But as the Fourth Circuit has said, “[i]t is well

established that if the client may invoke attorney-client privilege to protect

confidential communications, then the client’s attorney also may [] do so on the

client’s behalf.” In re Grand Jury Subpoena #£06-1, 724 Fed. App’x 306, at *5,

n.3 (4th Cir. 2008). That principle has also been expressly stated by the

Supreme Court of North Carolina in the context of an attorney’s representation

of a former client: “an attorney may assert the privilege when necessary to

protect the interests of the client.” In re Miller, 357 N.C. 316, 338 (N.C. 2003)

(holding that the attorney-client privilege survives even the death of the

client); see also Fisher v. United States, 425 U.S. 391, 402 n.8 (1976) (“It is

universally accepted that the attorney-client privilege may be raised by the

attorney”) (collecting cases). Indeed, attorneys are ethically obligated not to

disclose confidential information gleaned during representation of a former

client.   See N.C. Rule of Prof. Conduct 1.6 (“A lawyer shall not reveal

information acquired during the professional relationship with a client unless

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the client gives informed consent, the disclosure is impliedly authorized in

order to carry out the representation or the disclosure is permitted by

paragraph (b).”).

      Here, Dechert’s client expressly directed and authorized Dechert to

assert its applicable privileges and protections in this proceeding, including in

respect of any documents or information in Dechert’s possession. See Exhibit

A (Allen & Overy LLP Letter to Kaplan Hecker & Fink LLP, dated Feb. 13,

2023). Dechert is thus required—not just permitted—to assert attorney-client

privilege on RAK’s behalf.

      Moreover, despite Plaintiff’s assertion that “the privilege is held by the

client, RAK, not by Dechert,” Opposition at 7, some documents have been

withheld pursuant to Dechert’s own privilege. See DE 250-1 ¶ 38. Those

include, among others, communications and documents passing between

Dechert and its lawyers, “created for the purpose of giving or receiving legal

advice,” and communications and documents “made for the dominant purpose

of conducting litigation which is pending, reasonably in prospect or existing.”

Id. There can be no debate that Dechert has the right to assert its own

privilege. In all events, again, these issues are not raised in Dechert’s Motion

or properly before the Court. Dechert’s Motion simply seeks additional time to

fully comply with the Court’s Order, and Plaintiff’s eager demands that more

be done seem to acknowledge that such time is necessary.

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 Respectfully submitted this the 25th day of August, 2023.


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                     WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify that this brief does not

exceed the 3,125-word limitation for such briefs, according to the word count

feature of the word processing system used to prepare the brief.

      Respectfully submitted this the 25th day of August, 2023.


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